                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                AT KNOXVILLE


 UNITED STATES OF AMERICA                         )
                                                  )
 v.                                               )           NO. 3:19-CR-193-1
                                                  )
 DALLAS BYRGE                                     )
                                                  )



                                          ORDER

        Magistrate Judge C. Clifford Shirley, Jr. filed a report and recommendation,

 recommending that the Court: (1) find that the plea hearing in this case could not be further

 delayed without serious harm to the interests of justice; (2) grant Defendant’s motion to

 withdraw her not guilty plea to Count One of the Indictment; (3) accept Defendant’s plea

 of guilty to Count One of the Indictment, that is, of conspiracy to distribute and possession

 with intent to distribute fifty grams or more of methamphetamine, in violation of 21 U.S.C.

 §§ 846, 841(a)(1), and 841(b)(1)(A); (4) adjudicate Defendant guilty of the charges set

 forth in Count One of the Indictment; and (5) find that Defendant shall remain on

 supervised release until sentencing in this matter (Doc. 49.) Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees

 with the magistrate judge’s report and recommendation.             Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Doc. 49)

 pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:



                                              1

Case 3:19-cr-00193-HSM-HBG Document 57 Filed 11/04/20 Page 1 of 2 PageID #: 203
        (1)    As set forth on the record, Defendant’s plea hearing could not be further

 delayed without serious harm to the interests of justice;

        (2)    Defendant’s motion to withdraw her not guilty plea to Count One of the

 Indictment is GRANTED;

        (3)    Defendant’s plea of guilty to Count One of the Indictment, that is, of

 conspiracy to distribute and possession with intent to distribute fifty grams or more of

 methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A), is

 ACCEPTED;

        (4)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count

 One of the Indictment;

        (5)    Defendant SHALL REMAIN on supervised release until sentencing in this

 matter, which is scheduled to take place on January 12, 2021 at 1:30 p.m. in Knoxville

 before the Honorable Harry S. Mattice, Senior United States District Judge.

        SO ORDERED.

                                           /s/  Harry S. Mattice Jr. _________________
                                           HARRY S. MATTICE, JR
                                           SENIOR UNITED STATES DISTRICT JUDGE
                                           November 4, 2020




                                              2

Case 3:19-cr-00193-HSM-HBG Document 57 Filed 11/04/20 Page 2 of 2 PageID #: 204
